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              THE UNITED STATES COURT OF INTERNATIONAL TRADE


 SUN METALS GROUP, LLC

                 Plaintiff,
                                                                  Court No. 22-00234
        v.

 UNITED STATES; OFFICE OF THE
 UNITED STATES TRADE
 REPRESENTATIVE; KATHERINE TAI,
 U.S. TRADE REPRESENTATIVE; U.S.
 CUSTOMS AND BORDER PROTECTION;
 CHRIS MAGNUS, U.S. CUSTOMS AND
 BORDER PROTECTION COMISSIONER,

                 Defendants.


                                         COMPLAINT

       Plaintiff Sun Metals Group, LLC (“Sun Metals” or “Plaintiff”), by and through its

counsel, hereby alleges and states as follows:

                                 NATURE OF THE ACTION

       1.       This action concerns Defendants’ imposition of tariffs on more than $300 billion

in imports from the People’s Republic of China that were levied by the United States pursuant to

Section 301 of the Trade Act of 1974 (“Trade Act”), 19 U.S.C. § 2411 (“Section 301”). This

Complaint challenges as unlawful the imposition of a third round of tariffs on products covered

by so-called “List 3.” Notice of Modification of Section 301 Action: China’s Acts, Policies, and

Practices Related to Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg.

47,974 (Sept. 21, 2018).

       2.       On August 18, 2017, the Office of the United States Trade Representative

(“USTR”) conducted an investigation into China’s purportedly unfair intellectual property




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policies and practices pursuant to Section 301. Section 304 of the Trade Act, 19 U.S.C. § 2414,

required USTR to determine what action to take, if any, within 12 months after initiation of that

investigation. However, USTR failed to make a determination to impose List 3 tariffs within

that statutory window. USTR may not rely on its “modification” authority under Section 307 of

the Trade Act, 19 U.S.C. § 2417, to justify the untimely determination to impose the List 3

tariffs. Section 307 of the Trade Act does not permit USTR to increase the tariffs or impose

additional tariffs on other imports from China for reasons unrelated to the allegedly unfair

intellectual property policies and practices it originally investigated under Section 301. Yet, that

is exactly what Defendants did here when they imposed the List 3 tariffs in response to China’s

retaliatory duties and for other unrelated issues.

       3.       The imposition of the List 3 tariffs also violates the Administrative Procedure Act

(“APA”). USTR (1) acted in excess of its statutory authority by imposing tariffs not authorized

by the Trade Act, (2) failed to provide sufficient opportunity for comment, e.g., requiring

interested parties to submit affirmative and rebuttal comments on the same day; (3) failed to

consider relevant factors when making its decision, e.g., not undertaking an analysis of the

supposed “increased burden” imposed on U.S. commerce from the unfair policies and practices

that it originally investigated; and (4) failed to connect the record facts to the choices it made.

Indeed, despite receiving over 6,000 comments on the proposed List 3, USTR said nothing about

how those comments shaped its final promulgation of those two lists.

       4.       The Court should set aside Defendants’ actions as ultra vires and otherwise

contrary to law, as well as order Defendants to refund (with interest) any duties paid by Plaintiff

pursuant to List 3 for unliquidated entries and order Defendants to re-liquidate or refund (with

interest) any duties paid by Plaintiff pursuant to List 3.




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                                         JURISDICTION

       5.       This Court has exclusive jurisdiction over this action pursuant to 28 U.S.C.

§ 1581(i)(1)(B) and (D) because it concerns claims against the United States or its agencies

arising out of laws concerning “tariffs, duties, fees, or other taxes on the importation of

merchandise for reasons other than the raising of revenue” and the “administration and

enforcement” of such laws.

                                             PARTIES

       6.       Sun Metals is located at 4707 S. Westmoreland Road in Dallas, Texas. Sun

Metals serves the heavy-duty truck and trailer industry of the United States by providing brakes

and other truck parts. Sun Metals performs assembly and technical inspections of its parts and

supplies them to distributors and manufacturers of trucks and trailers in the United States. Sun

Metals sources products and components globally from India, Turkey, Mexico, the United States,

and China. Sun Metals is a U.S. importer of record on entries subject to the additional ad

valorem duties under List 3.

       7.       Defendant United States of America received the disputed tariffs and is the

statutory defendant under 5 U.S.C. § 702 and 28 U.S.C. § 1581(i)(1)(B).

       8.       The Office of the USTR is an executive agency of the United States charged with

investigating a foreign country’s trade practices under Section 301 of the Trade Act and

implementing “appropriate” responses, subject to the direction of the President. USTR

conducted the Section 301 investigation at issue and made numerous decisions regarding List 3.

       9.       Ambassador Robert Lighthizer held the position of USTR from 2017-2021.

Currently, Ambassador Katherine Tai holds the position of USTR. In these capacities, both




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former Ambassador Lighthizer and current Ambassador Tai have made numerous decisions

regarding List 3.

        10.     Defendant U.S. Customs and Border Protection (“CBP”) is the agency that

collects duties on imports. CBP collected payments made by Plaintiff to account for the tariffs

imposed by USTR under List 3.

        11.     Mark A. Morgan served as the Acting Commissioner of CBP from 2019-2021.

Defendant Chris Magnus is currently the Commissioner of CBP. In this capacity, former Acting

Commissioner Morgan and Commissioner Magnus oversee CBP’s collection of duties paid by

Plaintiff under List 3.

                                           STANDING

        12.     Sun Metals is an importer of merchandise that has been and will continue to be

subject to List 3 duties.

        13.     Tariffs imposed by Defendants pursuant to List 3 adversely affected and

aggrieved Sun Metals because they were required to pay these unlawful duties. Sun Metals thus

has standing to sue because they are “adversely affected or aggrieved by agency action within

the meaning of” the APA. 5 U.S.C. § 702; see 28 U.S.C. § 2631(i).

                                TIMELINESS OF THE ACTION

        14.     A plaintiff must commence an action under 28 U.S.C. § 1581(i)(1)(B) “within

two years after the cause of action first accrues.” 28 U.S.C. § 2636(i).

        15.     The instant action contests action taken by Defendants that resulted in List 3.

Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 47,974 (Sept. 21,

2018); Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices




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Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 43,304

(Aug. 20, 2019). Plaintiff’s claims accrued upon liquidation of its entries subject to List 3 tariffs,

at which time CBP determined those duties to be final, and thus Plaintiff timely filed this action

with respect to all such entries that were not already liquidated as of the date two years prior to

this action being filed. Alternatively, Plaintiff’s claims accrued upon its deposit of List 3 tariffs

at the time of entry, and thus Plaintiff timely filed this action with respect to all such entries filed

within the previous two years.

                                         RELEVANT LAW

          16.   Section 301 authorizes USTR to investigate a foreign country’s trade practices.

19 U.S.C. § 2411(b). If the investigation reveals an “unreasonable or discriminatory” practice,

USTR may take “appropriate” action, including imposing tariffs on imports from the country that

administered the unfair practice. Id. § 2411(b), (c)(1)(B).

          17.   Section 304 of the Trade Act requires USTR to determine what action to take, if

any, within 12 months after the initiation of the underlying investigation. Id. § 2414(a)(1)(B),

(2)(B).

          18.   Section 307 of the Trade Act allows USTR to “modify or terminate” an action

taken pursuant to Section 301 of the Trade Act either when the “burden or restriction on United

States commerce” imposed by the investigated foreign country’s practice has “increased or

decreased” or when the action “is no longer appropriate.” Id. § 2417(a)(1)(B), (C).

                                    PROCEDURAL HISTORY

I.        USTR’s Investigation

          19.   On August 14, 2017, President Trump directed Ambassador Lighthizer to

consider initiating a targeted investigation pursuant to Section 301(b) of the Trade Act




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concerning China’s laws, policies, practices, and actions related to intellectual property,

innovation, and technology. Memorandum of August 14, 2017 Addressing China’s Laws,

Policies, Practices, and Actions Related to Intellectual Property, Innovation, and Technology, 82

Fed. Reg. 39,007 (Aug. 17, 2017). According to the President, certain Chinese “laws, policies,

practices, and actions” on intellectual property, innovation, and technology “may inhibit United

States exports, deprive United States citizens of fair remuneration for their innovations, divert

American jobs to workers in China, contribute to our trade deficit with China, and otherwise

undermine American manufacturing, services, and innovation.” Id.

       20.     Four days later, on August 18, 2017, USTR formally initiated an investigation

into “whether acts, policies, and practices of the Government of China related to technology

transfer, intellectual property, and innovation are actionable under {Section 301(b) of} the Trade

Act.” Initiation of Section 301 Investigation; Hearing; and Request for Public Comments:

China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation, 82 Fed. Reg. 40,213 (Aug. 24, 2017).

       21.     Seven months later, on March 22, 2018, USTR released a report announcing the

results of its investigation. OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE,

Findings of the Investigation Into China’s Acts, Policies, And Practices Related to Technology

Transfer, Intellectual Property, and Innovation Under Section 301 of The Trade Act of 1974

(Mar. 22, 2018), available at https://ustr.gov/sites/default/files/Section%20301%20FINAL.PDF.

USTR found that certain “acts, policies, and practices of the Chinese government related to

technology transfer, intellectual property, and innovation are unreasonable or discriminatory and

burden or restrict U.S. commerce.” Id. at 17.




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        22.    On the same date, USTR published a “Fact Sheet” stating that “{a}n interagency

team of subject matter experts and economists’ estimates that China’s policies result in harm to

the U.S. economy of at least $50 billion per year.” OFFICE OF THE UNITED STATES

TRADE REPRESENTATIVE, Section 301 Fact Sheet (Mar. 22, 2018), available at

https://ustr.gov/about-us/policy-offices/press-office/fact-sheets/2018/march/Section-301-fact-

sheet. USTR also indicated that, consistent with a directive from President Trump, it would

“propose additional tariffs” of 25 percent ad valorem “on certain products of China, with an

annual trade value commensurate with the harm caused to the U.S. economy resulting from

China’s unfair policies.” Id.; see Actions by the United States Related to the Section 301

Investigation of China’s Laws, Policies, Practices, or Actions Related to Technology Transfer,

Intellectual Property, and Innovation, 83 Fed. Reg. 13,099 (Mar. 27, 2018) (President Trump’s

directive).

II.     Lists 1 & 2

        23.    Between April and August 2018 (i.e., within the 12-month statutory deadline from

the initiation of the investigation in August 2017, see 19 U.S.C. § 2414(a)(2)(B)), Defendants

undertook a series of actions to remedy the estimated harm to the U.S. economy caused by the

investigated unfair practices, ultimately imposing duties on imports from China covered by the

so-called Lists 1 and 2.

        24.    On April 6, 2018, USTR published notice of its intent to impose “an additional

duty of 25 percent on a list of products of Chinese origin.” Notice of Determination and Request

for Public Comment Concerning Proposed Determination of Action Pursuant to Section 301:

China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation, 83 Fed. Reg. 14,906, 14,907 (Apr. 6, 2018). The products on the proposed list




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covered 1,333 tariff subheadings with a total value of “approximately $50 billion in terms of

estimated annual trade value for calendar year 2018.” Id. at 14,907. USTR explained that it

chose $50 billion because that amount was “commensurate with an economic analysis of the

harm caused by China’s unreasonable technology transfer policies to the U.S. economy, as

covered by USTR’s Section 301 investigation.” OFFICE OF THE UNITED STATES TRADE

REPRESENTATIVE, Under Section 301 Action, USTR Releases Proposed Tariff List on

Chinese Products (Apr. 3, 2018), available at https://ustr.gov/about-us/policy-offices/press-

office/press-releases/2018/april/under-section-301-action-ustr.

       25.     On June 20, 2018, USTR published notice of its final list of products subject to an

additional duty of 25 percent ad valorem, a list commonly known as “List 1.” Notice of Action

and Request for Public Comment Concerning Proposed Determination of Action Pursuant to

Section 301: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

Property, and Innovation, 83 Fed. Reg. 28,710 (June 20, 2018). USTR explained that it had

“narrow{ed} the proposed list in the April 6, 2018 notice to 818 tariff subheadings, with an

approximate annual trade value of $34 billion.” Id. at 28,711.

       26.     At the same time that it finalized List 1, USTR announced that it intended to

impose a 25 percent ad valorem duty on a second proposed list of Chinese products in order to

“maintain the effectiveness of {the} $50 billion trade action” grounded in its Section 301

investigation. Id. at 28,712. USTR announced a proposed “List 2” covering 284 tariff

subheadings with “an approximate annual trade value of $16 billion.” Id. at 28,711-12.

       27.     On August 16, 2018, USTR published notice of the final list of products subject to

an additional duty of 25 percent ad valorem in List 2, comprising “279 tariff subheadings” whose

“annual trade value . . . remains approximately $16 billion.” Notice of Action Pursuant to




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Section 301: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

Property, and Innovation, 83 Fed. Reg. 40,823, 40,823-24 (Aug. 16, 2018).

III.   List 3

       28.      After USTR announced the results of its investigation in March 2018, tensions

between the governments of China and the United States escalated. In the months that followed,

Defendants expanded the scope of the tariffs imposed under Section 301 of the Trade Act to

cover virtually all imports from China, totaling more than $500 billion—ten times the amount it

had deemed “commensurate” with the effect on the economy of the unfair practices identified in

in USTR’s findings in the Section 301 investigation. Defendants did so for reasons unrelated to

the unfair practices that USTR had investigated and for which it recommended Section 301

measures. During a World Trade Organization Panel dispute brought by China over the Section

301 tariffs, the Defendants explained that the decision to impose these List 3 tariffs “had its

own, particular rationale,” that List 3 applied “to a broader class of products than those found to

directly benefit from the unfair trade acts, policies, and practices documented in the Section 301

report,” and that these products are “not necessarily products that have been found to benefit

from China’s practices and policies.” Panel Report, United States – Tariff Measures on Certain

Goods from China, WTO DS-543, paras. 7.41, 7.218, and 7.220.

       29.      Shortly after President Trump directed USTR in April 2018 to consider imposing

duties on $50 billion in Chinese products, China promptly threatened to impose retaliatory duties

on the same value of imports from the United States. In response, President Trump “instructed

the USTR to consider whether $100 billion of additional tariffs would be appropriate under

Section 301” due to “China’s unfair retaliation.” THE WHITE HOUSE, Statement from Donald

J. Trump on Additional Proposed Section 301 Remedies (Apr. 5, 2018), available at




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https://www.whitehouse.gov/briefings-statements/statement-president-donald-j-trump-

additional-proposed-section-301-remedies/.

       30.       When USTR finalized List 1 in mid-June 2018, President Trump warned China

that he would consider imposing additional tariffs on Chinese goods if China retaliated against

the United States. See e.g., Vicki Needham & Max Greenwood, Trump Announces Tariffs on

$50 Billion in Chinese Goods, THE HILL (June 15, 2018), available at

http://thehill.com/homenews/ administration/392421-trump-announces-tariffs-on-50-billion-in-

chinese-goods.

       31.       On June 18, 2018, President Trump formally directed USTR to consider whether

the United States should impose additional duties on products from China with an estimated

trade value of $200 billion—despite USTR having not yet implemented the tariffs on List 1 and

List 2. President Trump acknowledged that China’s threatened retaliatory “tariffs on $50 billion

worth of United States exports” motivated his decision. THE WHITE HOUSE, Statement from

the President Regarding Trade with China (June 18, 2018), available at

https://www.whitehouse.gov/briefings-statements/statement-president-regarding-trade-china-2/

(“This latest action by China clearly indicates its determination to keep the United States at a

permanent and unfair disadvantage, which is reflected in our massive $376 billion trade

imbalance in goods. This is unacceptable.”).

       32.       Acknowledging the purpose of the President’s directive, USTR stated that it

would design the newly proposed duties to retaliate against China over China’s threatened

retaliatory measures, rather than any of the harms identified in its Section 301 investigation.

OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, USTR Robert Lighthizer

Statement on the President’s Additional China Trade Action (June 18, 2018), available at




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https://ustr.gov/about-us/policy-offices/press-office/press-releases/2018/june/ustr-robert-

lighthizer-statement-0 (explaining that, although Lists 1 and 2 “were proportionate and

responsive to forced technology transfer and intellectual property theft by the Chinese” identified

in the Section 301 investigation, the proposed duties for a third list of products were necessary to

respond to the retaliatory and “unjustified tariffs” that China may impose to target “U.S.

workers, farmers, ranchers, and businesses”).

        33.     About a week after China imposed its first round of retaliatory duties, USTR

published notice of its proposal to “modify the action in this investigation by maintaining the

original $34 billion action and the proposed $16 billion action, and by taking a further,

supplemental action” in the form of “an additional 10 percent ad valorem duty on {a list of}

products {from} China with an annual trade value of approximately $200 billion.” Request for

Comments Concerning Proposed Modification of Action Pursuant to Section 301: China’s Acts,

Policies, and Practices Related to Technology Transfer, Intellectual Property, and Innovation,

83 Fed. Reg. 33,608, 33,608 (July 17, 2018). USTR invoked Section 307(a)(1)(C) of the Trade

Act, pursuant to which USTR “may modify or terminate any action, subject to the specific

direction, if any, of the President with respect to such action, . . . if . . . such action is being taken

under {Section 301(b)} of this title and is no longer appropriate.” Id. at 33,609 (citing 19 U.S.C.

§ 2417(a)(1)(c)). USTR initially set a deadline of August 17, 2018 for initial comments; August

20-23, 2018 for a public hearing; and August 30, 2018 for rebuttal comments. Id. at 33,608.

        34.     In its notice, USTR confirmed that China’s decision to impose “retaliatory duties”

was the primary basis for its proposed action. Id. at 33,609 (asserting as justification “China’s

response to the $50 billion action announced in the investigation and its refusal to change its

acts, policies, and practices”). USTR explicitly tied the $200 billion in its proposed action to the




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level of retaliatory duties imposed by China on U.S. imports, noting that “action at this level is

appropriate in light of the level of China’s announced retaliatory action ($50 billion) and the

level of Chinese goods imported into the United States ($505 billion in 2017).” Id.; see also id.

(Because “China’s retaliatory action covers a substantial percentage of U.S. goods exported to

China ($130 billion in 2017),” “the level of the U.S. supplemental action must cover a substantial

percentage of Chinese imports.”). USTR did not identify any increased burdens or restrictions

on U.S. commerce resulting from the unfair practices that USTR had investigated. See id.

       35.        USTR’s contemporaneous press statements corroborated the contents of its

notice: China’s retaliatory duties motivated its proposed action. Ambassador Lighthizer stated

that the proposed action came “{a}s a result of China’s retaliation and failure to change its

practices.” OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, Statement by

U.S. Trade Representative Robert Lighthizer on Section 301 Action (July 10, 2018), available at

https://ustr.gov/about-us/policy-offices/press-office/press-releases/2018/july/statement-us-trade-

representative.

       36.        Within days of that statement, then Ambassador Lighthizer announced that, in

light of China’s retaliatory duties, USTR would propose to increase the additional duty from 10

percent to 25 percent ad valorem. Rather than addressing the practices that USTR investigated

pursuant to Section 301 of the Trade Act, he stated that China “{r}egrettably . . . has illegally

retaliated against U.S. workers, farmers, ranchers and businesses.” OFFICE OF THE UNITED

STATES TRADE REPRESENTATIVE, Statement by U.S. Trade Representative Robert

Lighthizer on Section 301 Action (Aug. 1, 2018), available at https://ustr.gov/about-us/policy-

offices/press-office/press-releases/2018/august/statement-us-trade-representative.




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       37.     Shortly thereafter, USTR, at the direction of President Trump, formally proposed

“raising the level of the additional duty in the proposed supplemental action from 10 percent to

25 percent.” Extension of Public Comment Period Concerning Proposed Modification of Action

Pursuant to Section 301: China’s Acts, Policies, and Practices Related to Technology Transfer,

Intellectual Property, and Innovation, 83 Fed. Reg. 38,760, 38,760 (Aug. 7, 2018). USTR also

set new dates for a public hearing over six days ending on August 27, 2018. See id.; see also

OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, Public Hearings on

Proposed Section 301 Tariff List (Aug. 17, 2018) (modifying hearing schedule), available at

https://ustr.gov/about-us/policy-offices/press-office/press-releases/2018/august/public-hearings-

proposed-section-301.

       38.     At the same time, USTR adjusted the deadlines for the submission of written

comments, setting September 6, 2018—less than a month later—as the new deadline for both

initial and rebuttal comments from the public. 83 Fed. Reg. at 38,761. That adjustment,

deviating from its past practices, prevented both USTR and the public from considering initial

comments at the hearing, and left insufficient time for interested parties to review and respond to

the initial comments filed by other parties. USTR also limited each hearing participant to five

minutes. Docket No. USTR-2018-0026, https://beta.regulations.gov/document/USTR-2018-

0026-0001. Despite those obstacles, approximately 350 witnesses appeared at the six-day

hearing, and the public submitted over 6,000 comments. Id. Many of these comments

demonstrated that the products targeted had no connection to the policies targeted by List 1 and

List 2 as they were not related to the “Made in China 2025” initiative.

       39.     Just eleven days after receiving final comments from the public, President Trump

announced that he had directed USTR “to proceed with placing additional tariffs on roughly




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$200 billion of imports from China.” THE WHITE HOUSE, Statement from the President (Sep.

17, 2018) available at https://www.whitehouse.gov/briefings-statements/statement-from-the-

president-4/. Once again, the President made clear that China’s response to the $50 billion tariff

action (i.e., List 1 and List 2 duties) motivated his decision, and he immediately promised to

proceed with “phase three” of the plan—an additional $267 billion tariff action—“if China takes

retaliatory action against our farmers or other industries.” Id.

        40.     Following the President’s announcement, USTR published notice of the final list

of products subject to an additional duty, a list commonly known as “List 3.” 83 Fed. Reg. at

47,974. USTR imposed a 10 percent ad valorem tariff that was set to rise automatically to 25

percent on January 1, 2019. Id. USTR determined that the List 3 duties would apply to all listed

products that enter the United States from China on or after September 24, 2018. Id. USTR did

not respond to any of the over 6,000 comments that it received or any of the testimony provided

by roughly 350 witnesses. Id.

        41.     As legal support for its action, USTR for the first time cited Section 307(a)(1)(B)

of the Trade Act, which provides that USTR “may modify or terminate any action, subject to the

specific direction . . . of the President . . . taken under Section 301 if . . . the burden or restriction

on United States commerce of the denial of rights, or of the acts, policies, or practices, that are

the subject of such action has increased or decreased.” Id. (brackets omitted). USTR stated that

the relevant burden “continues to increase, including following the one-year investigation

period,” adding that “China’s unfair acts, policies, and practices include not just its specific

technology transfer and IP polices referenced in the notice of initiation in the investigation, but

also China’s subsequent defensive actions taken to maintain those policies.” Id. USTR also

cited Section 307(a)(1)(C) of the Trade Act, arguing that China’s response to the $50 billion




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tariff action “has shown that the current action no longer is appropriate” because “China openly

has responded to the current action by choosing to cause further harm to the U.S. economy, by

increasing duties on U.S. exports to China.” Id. at 47,975.

       42.     In the months that followed, China and the United States attempted to resolve

their differences through trade negotiations. Based on the progress made with China in those

negotiations, the Trump Administration announced in December 2018, and again in February

2019, that it would delay the scheduled increase in the List 3 duty rate from 10 to 25 percent.

Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 65,198 (Dec. 19,

2018); Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices

Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 7,966 (Mar.

5, 2019).

       43.     The trade negotiations ultimately did not succeed. In May 2019, USTR

announced its intent to raise the tariff rate on List 3 goods to 25 percent, effective either May 10,

2019 or June 1, 2019, depending on the day of export. See Notice of Modification of Section 301

Action: China's Acts, Policies, and Practices Related to Technology Transfer, Intellectual

Property, and Innovation, 84 Fed. Reg. 20,459 (May 9, 2019) (“List 3 Rate Increase Notice”);

see also Implementing Modification to Section 301 Action: China’s Acts, Policies, and Practices

Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 21,892

(May 15, 2019). The notice cited China’s decision to “retreat from specific commitments agreed

to in earlier rounds” of negotiations as the basis for the increase in the duty rate. List 3 Rate

Increase Notice, 84 Fed. Reg. at 20,459. Unlike with past imposition of new tariffs, USTR did

not seek public comment but rather simply announced that the increase would occur. Id.




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        44.     Recognizing that List 3 would cause substantial harm to U.S. companies and

consumers, as well as the U.S. economy, USTR in June 2019 invited the public to seek

exclusions from List 3 duties on a product-specific basis. Procedures for Requests to Exclude

Particular Products From the September 2018 Action Pursuant to Section 301: China’s Acts,

Policies, and Practices Related to Technology Transfer, Intellectual Property, and Innovation,

84 Fed. Reg. 29,576 (June 24, 2019).

        45.     The duties imposed on products covered by List 3 remain in effect as of the date

of this Complaint, with the exception of the limited number of products for which USTR

extended its originally granted exclusions from the List 3 duties. See, e.g., Notice of Product

Exclusion Extensions: China’s Acts, Policies, and Practices Related to Technology Transfer,

Intellectual Property, and Innovation, 85 Fed. Reg. 48,600 (Aug. 11, 2020).

                                  STATEMENT OF CLAIMS

                                          COUNT ONE

              DECLARATORY JUDGMENT—VIOLATION OF THE TRADE
                            ACT OF 1974 – LIST 3

        46.     Paragraphs 1 through 45 are incorporated by reference.

        47.     The Declaratory Judgment Act authorizes any court of the United States to

“declare the rights and other legal relations of any interested party seeking such declaration,

whether or not further relief is or could be sought.” 28 U.S.C. § 2201(a).

        48.     The Trade Act of 1974 does not authorize the actions taken by Defendants that

resulted in the List 3 tariffs.

        49.     Pursuant to Section 301 of the Trade Act, USTR may impose tariffs when it

determines that “an act, policy, or practice of a foreign country is unreasonable or discriminatory

and burdens or restricts United States commerce, and action by the United States is appropriate.”



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19 U.S.C. § 2411(b). USTR failed to predicate its action giving rise to List 3 on any such

determination.

       50.       If USTR concludes upon investigation that a foreign country maintains an unfair

trade practice, Section 304 of the Trade Act requires USTR to “determine what action, if any,” to

take within “12 months after the date on which the investigation is initiated.” 19 U.S.C.

§ 2414(a)(1)(B), (2)(B). USTR’s action giving rise to List 3 occurred in September 2018, over a

year after USTR initiated the underlying Section 301 investigation on August 18, 2017.

       51.       Section 307 of the Trade Act authorizes USTR to “modify or terminate” an action

taken pursuant to Section 301(b) of the Trade Act when the burden imposed on U.S. commerce

from the foreign country’s investigated unfair acts, policies, or practices increases or decreases.

19 U.S.C. § 2417(a)(1)(B). Section 307 of the Trade Act, however, does not permit Defendants

to increase tariffs for reasons unrelated to the acts, policies, or practices that USTR investigated

pursuant to Section 301 of the Trade Act.

       52.       Section 307 of the Trade Act also authorizes USTR to “modify or terminate” an

action taken pursuant to Section 301(b) of the Trade Act if the initial action taken by USTR “is

no longer appropriate.” 19 U.S.C. § 2417(a)(1)(C). Section 307 of the Trade Act does not

authorize Defendants to increase tariff actions that are no longer “appropriate.”

       53.       Plaintiff is therefore entitled to a declaratory judgment that Defendants’ actions

giving rise to List 3 are ultra vires and contrary to law.

                                           COUNT TWO




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              VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT

       54.     Paragraphs 1 through 53 are incorporated by reference.

       55.     The APA authorizes the Court to hold unlawful and set aside agency action that

is: “(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law;

(B) contrary to constitutional right, power, privilege, or immunity; (C) in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right; (D) without observance of

procedure required by law; {or} (E) unsupported by substantial evidence.” 5 U.S.C. § 706(2).

       56.     Defendants exceeded their authority under the Trade Act in imposing the List 3

tariffs. As set forth above in Counts 1 and 2, Defendants failed to make their determination to

impose the List 3 within 12 months after the initiation of the investigation, and the List 3 tariffs

were imposed for reasons unrelated to the acts, policies, or practices that USTR investigated

pursuant to Section 301 of the Trade Act. The imposition of the List 3 tariffs is thus “in excess

of statutory authority” and “not in accordance with the law.”

                                         COUNT THREE

              VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT

       57.     Paragraphs 1 through 56 are incorporated by reference.

       58.     In promulgating List 3, Defendants failed to provide a sufficient opportunity for

comment, failed to meaningfully consider relevant factors when making their decisions, and

failed to adequately explain their rationale. Defendants’ preordained decision-making resulted in

the unlawful imposition of tariffs on imports covered by List 3 whose value exceeds $300

billion. The imposition of the List 3 tariffs was thus arbitrary, capricious, and an abuse of

discretion within the meaning of 5 U.S.C. § 706(2) and was without observance of procedure

required by law.




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                DEMAND FOR JUDGMENT AND PRAYER FOR RELIEF

Wherefore, Plaintiff respectfully requests that this Court:

   (1) declare that Defendants’ actions resulting in tariffs on products covered by List 3 are

       unauthorized by, and contrary to, the Trade Act;

   (2) declare that Defendants arbitrarily and unlawfully promulgated List 3 in violation of the

       APA;

   (3) vacate the List 3 rulemaking;

   (4) order Defendants to refund, with interest, any duties paid by Plaintiff pursuant to List 3

       on unliquidated entries and re-liquidate and refund any duties, with interest, paid by

       Plaintiff pursuant to List 3 for liquidated entries;

   (5) permanently enjoin Defendants from applying List 3 against Plaintiff and collecting any

       duties from Plaintiff pursuant to List 3;

   (6) award Plaintiff their costs and reasonable attorney fees; and

   (7) grant such other and further relief as may be just and proper.




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                                     Respectfully submitted,

                                     /s/ Brady W. Mills
                                     Brady W. Mills
                                     Donald B. Cameron
                                     Julie C. Mendoza
                                     R. Will Planert
                                     Mary S. Hodgins
                                     Eugene Degnan
                                     Edward J. Thomas III
                                     Jordan L. Fleischer

                                     MORRIS MANNING & MARTIN LLP
                                     1401 Eye Street, NW, Suite 600
                                     Washington, D.C. 20005

                                     Counsel to Plaintiff Sun Metals Group, LLC

Dated: August 9, 2022




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